               Case 2:05-cr-00014-JAM Document 26 Filed 01/04/06 Page 1 of 2


 1   KEVIN D. CLYMO
     Attorney at Law
 2   Ca. St. Bar No. 88562
     1812 J Street, Suite 22
 3   Sacramento, California 95814
     Telephone: (916) 447-1200
 4
     Attorney for Defendants
 5   BRIAN BASTI
     FRANK BASTI
 6
 7                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,       )          Case No. CR.S-05-014 DFL
                                     )
10                   Plaintiff,      )
                                     )
11        v.                         )          STIPULATION AND PROPOSED ORDER
                                     )          TO CONTINUE DATE TO SURRENDER
12   BRIAN BASTI and                 )          FOR SERVICE OF SENTENCE
     FRANK BASTI,                    )
13                                   )
                     Defendants.     )
14   _______________________________ )
15         IT IS HEREBY stipulated between the United States of
16   America through its undersigned counsel, Matthew C. Stegman,
17   Assistant United States Attorney, together with counsel for
18   defendants, Kevin D. Clymo, that the previously set surrender
19   date of January 5, 2006 be continued to July 6, 2006.
20   IT IS SO STIPULATED.
21   Dated: December 29, 2005                       s/Kevin D. Clymo
                                                  KEVIN CLYMO
22                                                Attorney for Defendants
                                                  Brian Basti and Frank Basti
23
     Dated: December 29, 2005                     McGREGOR W. SCOTT
24                                                United States Attorney
25                                          by:     s/Matthew C. Stegman1
                                                  MATTHEW C. STEGMAN
26                                                Assistant U.S. Attorney
27
           1
            Kevin D. Clymo has obtained authorization to sign on behalf of Matthew
28   C. Stegman

                                            1
           Case 2:05-cr-00014-JAM Document 26 Filed 01/04/06 Page 2 of 2


 1                                    ORDER
 2        GOOD CAUSE APPEARING, it is hereby ordered that the January
 3   5, 2006 surrender date be continued to July 6, 2006.
 4   Dated: 1/3/2006
 5
 6
 7                                          DAVID F. LEVI
 8                                          United States District Judge

 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                        2
